      Case 2:21-mc-01230-JFC Document 2573-1 Filed 03/11/24 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-
 LEVEL PAP, AND MECHANICAL                          Master Docket: Misc. No. 21-1230-JFC
 VENTILATOR PRODUCTS LIABILITY
 LITIGATION                                         MDL No. 3014

 This Document Relates To:                          Hon. Joy Flowers Conti

 Second Amended Master Long Form
 Complaint For Personal Injuries And
 Damages, And Demand For Jury Trial
 (ECF No. 2505)


      [PROPOSED] ORDER GRANTING PHILIPS RS NORTH AMERICA LLC’S
            MOTION TO DISMISS PURSUANT TO FEDERAL RULES
                 OF CIVIL PROCEDURE 12(b)(1) AND 12(b)(6)

       It is hereby ORDERED that the following claims from Plaintiffs’ Second Amended Master

Long Form Complaint for Personal Injuries and Damages, and Demand for Jury Trial (“PISAC”)

(ECF No. 2505) are dismissed pursuant to Federal Rules of Civil Procedure 12(b)(1) and (6):

 1.    Plaintiffs’ negligent recall and negligent failure to recall claims (Counts VI(1) and VI(2))

       with prejudice under Rule 12(b)(6) because these claims are preempted by federal law.

 2.    Plaintiffs’ negligent recall claim (Count VI (2)) with prejudice under Rule 12(b)(6)

       because this claim also fails pursuant to the primary jurisdiction doctrine.

 3.    Plaintiffs’ negligent failure to recall claim (Count VI (1)) under the laws of Illinois and

       Oklahoma, with prejudice under Rule 12(b)(6), because those jurisdictions do not

       recognize such a claim as an independent cause of action.

 4.    Plaintiffs’ negligence per se claim (Count XV) under the laws of Delaware, Oregon,

       Rhode Island, and Wisconsin, with prejudice under Rule 12(b)(6), because those

       jurisdictions do not recognize such a claim as an independent cause of action.
     Case 2:21-mc-01230-JFC Document 2573-1 Filed 03/11/24 Page 2 of 4




5.   Plaintiffs’ following claims, with prejudice under Rule 12(b)(6), because they are

     subsumed by state product liability acts:

        a. Plaintiffs’ breach of warranty claims (Counts X through XII) under Indiana law;

        b. Plaintiffs’ fraud claim (Count XIII) under the laws of Kansas, Mississippi, Ohio,

            and Tennessee; and

        c. Plaintiffs’ consumer protection claims (Counts XVI (14), (22), (27)) under the laws

            of Indiana, Mississippi, and New Jersey.

6.   Plaintiffs’ product liability act claims (Counts XXV, XXVI, XXVIII, XXIX), with

     prejudice under Rule 12(b)(6), to the extent that Plaintiffs attempt to base those claims only

     on theories of liability unavailable under each statute. Plaintiffs that attempt to base those

     claims on theories of liability that include those unavailable under each statute will have

     those unavailable theories struck from their claim.

7.   Plaintiffs’ product liability act claims (Counts XXIII through XXXI) with prejudice

     under Rule 12(b)(6) to the extent that Plaintiffs attempt to base those claims only on

     theories of liability that correspond to common law claims that the Court determines must

     be dismissed. Plaintiffs that attempt to base those claims on theories of liability that include

     common law claims that the Court determines must be dismissed will have those

     unavailable theories struck from their claim.

8.   Plaintiffs’ fraud claim (Count XIII) under the laws of Arkansas, Florida, Georgia, Illinois,

     Maryland, Massachusetts, Mississippi, Nevada, Ohio, Oregon, Pennsylvania, South

     Dakota, and Virginia, with prejudice under Rule 12(b)(6), for failure to allege a

     confidential or fiduciary relationship with Respironics.




                                                 2
      Case 2:21-mc-01230-JFC Document 2573-1 Filed 03/11/24 Page 3 of 4




9.    Plaintiffs’ following consumer protection claims, with prejudice under Rule 12(b)(6):

         a. Plaintiffs’ Count XVI (31) because the relevant statute precludes private rights of

             action for damages;

         b. Plaintiffs’ Count XVI (37) because the relevant statute precludes personal injury

             claims;

         c. Plaintiffs’ Counts XVI (1), (4), (9), (13), (14), (16), (17), (19), (22), (23), (24),

             (34), (39), (40), (41), and (43) because the relevant statutes apply only to claims

             involving consumer goods, which prescription medical devices are not;

         d. Plaintiffs’ Count XVI (42) because omissions are not actionable under the relevant

             statute;

         e. Plaintiffs’ Counts XVI (4), (14), (18), (41) and (43) because Plaintiffs do not

             allege that they met preconditions to filing suit under the relevant statutes;

         f. Plaintiffs’ Count XVI (22) because Plaintiffs do not allege compliance with the

             statutory prerequisites to filing suit; and

         g. Plaintiffs’ Count XVI (1) because Plaintiffs have procedurally waived any claim

             under the relevant statute.

10.   Dismissal of Plaintiffs’ following consumer protection claims, with prejudice under Rules

      12(b)(1) and 12(b)(6):

         a. Plaintiffs’ Counts XVI (1), (4), (11), (12), (16) (22), (23), (24), (34), and (41) for

             lack of statutory standing to the extent the claims are brought by Plaintiffs who

             allege only to have “used,” and not leased or purchased, a device; and




                                                3
      Case 2:21-mc-01230-JFC Document 2573-1 Filed 03/11/24 Page 4 of 4




         b. Plaintiffs’ Counts XVI (7) and (13) for lack of statutory standing to the extent the

             claims are brought by Plaintiffs who allege only to have “used” or “leased,” and

             not purchased, a device.


                                                  _________________________________
                                                  Honorable Joy Flowers Conti
                                                  Senior United States District Judge
Dated: ___________ ___, 2024




                                              4
